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              EXHIBIT A TO CURE NOTICE

SCHEDULE OF CURE COSTS AND TRANSFERRED CONTRACTS
                                                      Case 23-10961-BLS                Doc 203-1     Filed 08/22/23         Page 2 of 11
In re Williams Industrial Services Group, Inc. et al. , No. 23-10961-BLS
Non-debtor Counterparty                              Debtor Counterparty                           Description                             Cure Costs
18-31 42nd Street Astoria, LLC                       Williams Specialty Services, LLC              NY Office                                         $0.00
ACM Coal Tar Removal                                 Williams Specialty Services, LLC              Delta Environmental Inc                           $0.00
AECON-WACHS INC.                                     Williams Plant Services, LLC                  Craft Support                                     $0.00
AIRGAS USA                                           Williams Plant Services, LLC                  Gas Cylinders                                 $1,764.48
Alabma Metal Ind Corp Amico                          Williams Specialty Services, LLC              Fence Materials                                   $0.00
AMERICAN PORTABLE TOILETS, INC                       Williams Specialty Services, LLC              Portable Toilets                                  $0.00
ARES STEEL                                           Williams Specialty Services, LLC              Rebar                                             $0.00
ARIES BUILDING SYSTEMS                               Williams Plant Services, LLC                  Mobile Office Unit                                $0.00
ARIES BUILDING SYSTEMS                               Williams Plant Services, LLC                  Mobile office unit                                $0.00
ARIES BUILDING SYSTEMS                               Williams Plant Services, LLC                  Mobile office unit                                $0.00
ARIES BUILDING SYSTEMS                               Williams Plant Services, LLC                  Mobile office unit                                $0.00
ARIES BUILDING SYSTEMS                               Williams Plant Services, LLC                  Office Trailers                               $3,926.75
Ashford Office Center, LLC                           Williams Industrial Services Group, LLC       Home Office Location                             $50.21
ASHMORE CONCRETE CONTRACTORS                         Williams Specialty Services, LLC              Concrete Pumping                                  $0.00
ASHMORE CONCRETE CONTRACTORS                         Williams Plant Services, LLC                  Concrete Pumping                                  $0.00
Associated Food Distributors, Company                Williams Specialty Services, LLC              CT Office Location                            $7,356.77
AT&T                                                 Williams Plant Services, LLC                  Internet (DSL) Equipment (Blanket PO)          $706.11
AUGUSTA INDUSTRIAL SERVICES                          Williams Plant Services, LLC                  Inspection Tech & Operators                  $84,915.83
AUGUSTA INDUSTRIAL SERVICES                          Williams Plant Services, LLC                  Excavations                                       $0.00
AUGUSTA INDUSTRIAL SERVICES                          Williams Specialty Services, LLC              Hydro Ex                                          $0.00
Bad Day Fabrication                                  Williams Plant Services, LLC                  Various fabrication materials                     $0.00
Badger Daylighting Corp.                             Williams Specialty Services, LLC              Hydro Excavating                             $41,365.23
Bancker Construction Corp                            Williams Specialty Services, LLC              Sublease for CT Office Location               $7,356.77
BC INDUSTRIAL SUPPLY INC                             Williams Specialty Services, LLC              Wet/Dry Asphalt Blade                             $0.00
Blood Hound LLC                                      Williams Specialty Services, LLC              Underground Utility Services                      $0.00
Case Contracting LTD                                 Williams Specialty Services, LLC              Electrical Services                               $0.00
CEMEX                                                Williams Specialty Services, LLC              Concrete & Gravel                                 $0.00
CIT Technology Fin Svcs                              Williams Industrial Services Group, LLC       Printer Leases                                $4,662.09
Cogent                                               Williams Industrial Services Group, LLC       HQ Main Internet                                 $56.03
Cold Springs Machine Co Inc                          Williams Specialty Services, LLC              Materials and Fabrication                         $0.00
Comcast                                              Williams Industrial Services Group, LLC       HQ Backup Internet                             $620.25
Complete Mobile Home Setup, LLC                      Williams Plant Services, LLC                  Mobile Offices Setup                              $0.00
Complete Mobile Home Setup, LLC                      Williams Plant Services, LLC                  Set up/ Knockdown Services                  $109,000.00
Con Edison                                           Williams Specialty Services, LLC              Bronx River 36" Gas Main                          $0.00
Con Edison                                           Williams Specialty Services, LLC              Hudson Elevator                                   $0.00
Con Edison                                           Williams Specialty Services, LLC              Con Ed Maintenance                                $0.00
Con Edison                                           Williams Specialty Services, LLC              Con Ed Tunnel Maintenance                         $0.00
Concur                                               Williams Industrial Services Group Inc.       Expense management                            $2,919.47
CONSTRUCTION RESOURCES GROUP                         Williams Specialty Services, LLC              Fence Fabrication                             $2,659.60
Cranston Engineering Group, PC                       Williams Specialty Services, LLC              Engineering Support                               $0.00
CRANSTON ENGINEERING GROUP, PC                       Williams Plant Services, LLC                  Engineering Support                               $0.00

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In re Williams Industrial Services Group, Inc. et al. , No. 23-10961-BLS
Non-debtor Counterparty                              Debtor Counterparty                           Description                              Cure Costs
D R DAVIES CONTRACTOR LLC                            Williams Plant Services, LLC                  Railroad Tracks                                    $0.00
D R DAVIES CONTRACTOR LLC                            Williams Plant Services, LLC                  Track Construction                                 $0.00
Dell Computer                                        Williams Specialty Services, LLC              Computer Equipment                                 $0.00
DELL COMPUTER                                        Williams Plant Services, LLC                  Computer equipment                                 $0.00
DELL COMPUTER                                        Williams Plant Services, LLC                  Computer equipment                                 $0.00
DIGITAL OFFICE EQUIPMEMNT                            Williams Plant Services, LLC                  Copier Maintenance                             $2,154.61
EAST COAST LUMBER & SUPPLY CO                        Williams Specialty Services, LLC              Hardware Materials                             $1,158.46
EAST COAST LUMBER & SUPPLY CO                        Williams Specialty Services, LLC              Cold Galvanize Spray                               $0.00
EAST COAST LUMBER & SUPPLY CO                        Williams Specialty Services, LLC              Water                                              $0.00
Edge                                                 Williams Industrial Services Group, LLC       Printer Maintenance                            $1,020.10
Energy Northwest                                     Williams Plant Services, LLC                  ENW Background Screening                           $0.00
Energy Northwest                                     Williams Plant Services, LLC                  Maintenance Support/ Outage                        $0.00
Energy Northwest                                     Williams Plant Services, LLC                  Breaker Replacement                                $0.00
ENSCO SUPPLY                                         Williams Plant Services, LLC                  Chainsaw                                           $0.00
ENSCO SUPPLY                                         Williams Plant Services, LLC                  Materials                                          $0.00
ENSCO SUPPLY                                         Williams Plant Services, LLC                  Safety PPE and other items                         $0.00
ENSCO SUPPLY                                         Williams Plant Services, LLC                  Hardhats                                           $0.00
FACTORY DIRECT SUPPLY                                Williams Specialty Services, LLC              Besser Bricks                                      $0.00
FASTENAL COMPANY                                     Williams Plant Services, LLC                  Steel Pipe                                         $0.00
Flexential                                           Williams Industrial Services Group, LLC       Data Center                                    $6,277.83
Florida Power & Light                                Williams Specialty Services, LLC              Security Fence Replacement                         $0.00
Fusion Tech Communications LLC                       Williams Specialty Services, LLC              Lighting Fixtures                                  $0.00
Georgia Pacific                                      Williams Industrial Services, LLC             Weekend Outage                                     $0.00
GOLDEN ISLES SUPPLY CO., INC.                        Williams Plant Services, LLC                  Materials (wire)                                   $0.00
GRANITE TELECOMMUNICATIONS LLC                       Williams Industrial Services Group, LLC       Mobile phone management                            $0.00
GRANITE TELECOMMUNICATIONS LLC                       Williams Plant Services, LLC                  Mobile communications                              $0.00
GUBMK (United E&C)                                   Williams Plant Services, LLC                  GUBMK JV Agreement                                 $0.00
GUBMK (Worley Group, Inc)                            Williams Plant Services, LLC                  GUBMK JV Agreement                                 $0.00
HARPER LINE STRIPING CO                              Williams Plant Services, LLC                  Line Striping                                      $0.00
HDS WHITE CAP CONST SUPPLY                           Williams Plant Services, LLC                  Marking Paint - Mag Nails - Flagging               $0.00
HERC RENTALS                                         Williams Specialty Services, LLC              Equipment Rental                               $7,135.50
HERC RENTALS                                         Williams Specialty Services, LLC              Equipment Rental                                   $0.00
HERC RENTALS                                         Williams Specialty Services, LLC              Fork Lift Rental                                   $0.00
HERC RENTALS                                         Williams Specialty Services, LLC              Equipment Rental                                   $0.00
HERC RENTALS                                         Williams Plant Services, LLC                  Equipment Rental                                   $0.00
HERC RENTALS                                         Williams Plant Services, LLC                  Equipment Rental                                   $0.00
HERC RENTALS                                         Williams Plant Services, LLC                  Equipment Rental                                   $0.00
HERC RENTALS                                         Williams Plant Services, LLC                  Equipment Rental                             $167,759.11
HERC RENTALS                                         Williams Plant Services, LLC                  Equipment Rental                                   $0.00
HERC RENTALS                                         Williams Plant Services, LLC                  Equipment Rental                                   $0.00
HERC RENTALS                                         Williams Plant Services, LLC                  Equipment Rental                                   $0.00

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In re Williams Industrial Services Group, Inc. et al. , No. 23-10961-BLS
Non-debtor Counterparty                              Debtor Counterparty                           Description                              Cure Costs
HERC RENTALS                                         Williams Plant Services, LLC                  Equipment Rental                                   $0.00
HERC RENTALS                                         Williams Plant Services, LLC                  Equipment Rental                                   $0.00
Holtec International                                 Williams Plant Services, LLC                  General Terms & Conditions                         $0.00
Holtec International                                 Williams Plant Services, LLC                  Pool to Pad Labor (Sequoyah)                       $0.00
Holtec International                                 Williams Plant Services, LLC                  Craft Labor Support (Dresden)                      $0.00
Holtec International                                 Williams Plant Services, LLC                  Craft Labor Support                                $0.00
HSE Contractors Inc                                  Williams Specialty Services, LLC              Scheduling Services                                $0.00
Ikegami Engineering, Inc.                            Williams Plant Services, LLC                  Ultium Cells Plants (OH, TN)                       $0.00
Iland (11:11)                                        Williams Industrial Services Group, LLC       DRAAS                                         $13,055.67
IMPACT RENTALS, LLC                                  Williams Plant Services, LLC                  Equipment Rental                                   $0.00
IMPACT RENTALS, LLC                                  Williams Plant Services, LLC                  Equipment Rental                              $16,181.25
Insight                                              Williams Industrial Services Group Inc.       MS Server licenses                              $271.84
JM TEST SYSTEMS INC                                  Williams Plant Services, LLC                  Cable Analyzers                                    $0.00
KELLY TRACTOR CO                                     Williams Specialty Services, LLC              Equipment Rental                               $4,667.54
Lan Darty Real Estate dba D. Ream Properties         Williams Plant Services, LLC                  Background Group Office                            $0.00
Lane Land Development, LLC                           Williams Industrial Services, LLC             Jacksonville Office Lease                     $40,023.40
LeaseQuery                                           Williams Industrial Services Group Inc.       Lease tracking                                     $0.00
Loadspring                                           Williams Industrial Services Group, LLC       Application Hosting                                $0.00
Lockstep Technology Group                            Williams Industrial Services Group, LLC       Managed Services Provider                     $18,500.00
Lockstep Technology Group -Barracuda                 Williams Industrial Services Group, LLC       Email Archiver                                     $0.00
Lockstep Technology Group - Cisco                    Williams Industrial Services Group, LLC       Microsoft 365 Licenses                             $0.00
Lockstep Technology Group - Cisco                    Williams Industrial Services Group, LLC       Smartnet                                           $0.00
Lockstep Technology Group - Citrix                   Williams Industrial Services Group, LLC       Citrix Gateway                                     $0.00
Lockstep Technology Group - DUO                      Williams Industrial Services Group, LLC       MFA                                                $0.00
Lockstep Technology Group - KnowBe4                  Williams Industrial Services Group, LLC       KnowBe4                                            $0.00
Lockstep Technology Group - Microsoft                Williams Industrial Services Group, LLC       Office 365                                         $0.00
Lockstep Technology Group - RedHat                   Williams Industrial Services Group, LLC       Linux                                              $0.00
Lockstep Technology Group - VEEAM                    Williams Industrial Services Group, LLC       VEEAM                                              $0.00
Lockstep Technology Group - VMWare                   Williams Industrial Services Group, LLC       VMWare                                             $0.00
LOWES CREDIT SERVICES                                Williams Specialty Services, LLC              Blanket PO for small tools                         $0.00
LOWES CREDIT SERVICES                                Williams Specialty Services, LLC              Small Tools                                        $0.00
LOWES CREDIT SERVICES                                Williams Specialty Services, LLC              Consumables                                        $0.00
LOWES CREDIT SERVICES                                Williams Plant Services, LLC                  Blanket PO for small tools/consumables             $0.00
LOWES CREDIT SERVICES                                Williams Plant Services, LLC                  Materials                                          $0.00
LOWES CREDIT SERVICES                                Williams Plant Services, LLC                  Blanket Materials PO                               $0.00
LOWES CREDIT SERVICES                                Williams Plant Services, LLC                  Materials                                          $0.00
M&W Precast LLC                                      Williams Specialty Services, LLC              Materials and Fabrication                          $0.00
MACUCH STEEL PRODUCTS, INC.                          Williams Plant Services, LLC                  Steel materials                                    $0.00
MAGID GLOVE & SAFETY MFG CO                          Williams Plant Services, LLC                  Tools/ Materials                                   $0.00
MalwareBytes                                         Williams Industrial Services Group, LLC       Antivirus anti-malware                             $0.00
MANER BUILDERS SUPPLY CO LLC                         Williams Plant Services, LLC                  Materials                                          $0.00

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In re Williams Industrial Services Group, Inc. et al. , No. 23-10961-BLS
Non-debtor Counterparty                              Debtor Counterparty                           Description                                         Cure Costs
MANER BUILDERS SUPPLY CO LLC                         Williams Plant Services, LLC                  Materials                                                     $0.00
MARTIN MARIETTA MATERIALS                            Williams Plant Services, LLC                  Blanket PO for stone                                     $20,559.79
MAXIM CRANE WORKS, LP                                Williams Specialty Services, LLC              50 Ton Crane                                                  $0.00
MAXIM CRANE WORKS, LP                                Williams Plant Services, LLC                  Crane Rental                                             $47,080.00
MCKINNEY WHOLESALE CO INC                            Williams Plant Services, LLC                  Treated Lumber                                                $0.00
Miller Electric Company                              Williams Specialty Services, LLC              Temp Power                                                $4,802.27
Miller Electrical Contractors                        Williams Specialty Services, LLC              Electrical Services                                           $0.00
MOBILE MINI INC                                      Williams Specialty Services, LLC              Container Rental                                           $760.74
MOBILE MINI INC                                      Williams Plant Services, LLC                  Temporary Building Rental                                 $1,312.62
NATIONAL CONSTRUCTION RENTALS                        Williams Plant Services, LLC                  Temporary Fence                                               $0.00
NPE Consultants, LLC                                 Williams Specialty Services, LLC              Engineering Services                                          $0.00
Oleary Construction Inc                              Williams Specialty Services, LLC              Construction Services                                   $112,388.40
P&I SUPPLY CO                                        Williams Plant Services, LLC                  Consumables                                                   $0.00
Pantheon                                             Williams Industrial Services Group, LLC       Website hosting                                            $711.23
ParkPlace Technology                                 Williams Industrial Services Group Inc.       hardware maintenance                                          $0.00
Peepels Mechanical Corporation                       Williams Specialty Services, LLC              HVAC work                                                $21,316.50
Penta                                                Williams Industrial Services Group, LLC       ERP                                                           $0.00
Pixelle Specialty Solutions                          Williams Industrial Services, LLC             12PM Straw Shed Siding                                        $0.00
Pixelle Specialty Solutions                          Williams Industrial Services, LLC             12PM Gutter Clean                                             $0.00
Pixelle Specialty Solutions                          Williams Industrial Services, LLC             Bldg 66 Roof Repairs                                          $0.00
Pixelle Specialty Solutions                          Williams Industrial Services, LLC             RPR Roof Decking Repair Door                                  $0.00
PLANT MACHINE & WELDING INC.                         Williams Specialty Services, LLC              Galvanized Plates                                             $0.00
POLLOCK COMPANY                                      Williams Plant Services, LLC                  Copier Maintenance                                        $1,134.98
RED-D-ARC INC                                        Williams Plant Services, LLC                  Cylinder Cages                                             $920.20
Requordit                                            Williams Industrial Services Group, LLC       Penta Document Management                                $20,000.00
Richmond County Constructors                         Williams Plant Services, LLC                  RCC JV Agreement                                              $0.00
SalesForce                                           Williams Industrial Services Group Inc.       CRM                                                           $0.00
SALTER BUILDING SUPPLY INC.                          Williams Plant Services, LLC                  Blanket PO for materials                                      $0.00
SALTER BUILDING SUPPLY INC.                          Williams Plant Services, LLC                  Blanket PO for materials                                      $0.00
SolCyber                                             Williams Industrial Services Group, LLC       Managed Security Service                                 $34,200.38
Southern Nuclear Operating Company                   Williams Plant Services, LLC                  Facilities                                                    $0.00
Southern Nuclear Operating Company                   Williams Plant Services, LLC                  Facilities                                                    $0.00
Southern Nuclear Operating Company                   Williams Plant Services, LLC                  Facilities - Trailer City Demob                               $0.00
Southern Nuclear Operating Company                   Williams Plant Services, LLC                  Permanent Plant Security System                               $0.00
Southern Nuclear Operating Company                   Williams Plant Services, LLC                  Security Perimeter                                            $0.00
Southern Nuclear Operating Company                   Williams Plant Services, LLC                  ADT Support                                                   $0.00
Southern Nuclear Operating Company                   Williams Plant Services, LLC                  ADT Support                                                   $0.00
Southern Nuclear Operating Company                   Williams Plant Services, LLC                  North 40 - Base Scope (Directs + Material)                    $0.00
Southern Nuclear Operating Company                   Williams Plant Services, LLC                  North 40 - Base Scope (Directs + Material)                    $0.00
Southern Nuclear Operating Company                   Williams Plant Services, LLC                  North 40 - Hotel Load (Staff + Hotel + Indirects)             $0.00
Southern Nuclear Operating Company                   Williams Plant Services, LLC                  North 40 - Craft Incentives                                   $0.00

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In re Williams Industrial Services Group, Inc. et al. , No. 23-10961-BLS
Non-debtor Counterparty                              Debtor Counterparty                                 Description                                       Cure Costs
Southern Nuclear Operating Company                   Williams Plant Services, LLC                        North 40 - Misc Site Support                                $0.00
Southern Nuclear Operating Company                   Williams Plant Services, LLC                        Vogtle 3 & 4 Hotel Load (Staff and Equipment)               $0.00
Southern Nuclear Operating Company                   Williams Plant Services, LLC                        ITP/FIN team - Seconded to Southern                         $0.00
Southern Nuclear Operating Company                   Williams Plant Services, LLC                        ITP/FIN team - Seconded to Southern                         $0.00
Southern Nuclear Operating Company                   Williams Plant Services, LLC                        North Road Project                                          $0.00
Southern Nuclear Operating Company                   Williams Plant Services, LLC                        North Road Project - Amendment No. 1                        $0.00
Southern Nuclear Operating Company                   Williams Plant Services, LLC                        Hydro Excavation Activites                                  $0.00
Southern Nuclear Operating Company                   Williams Plant Services, LLC                        Parking Lot Project                                         $0.00
Southern Nuclear Operating Company                   Williams Plant Services, LLC                        South 40 - Road/ASB Parking Lot                             $0.00
Southern Nuclear Operating Company                   Williams Plant Services, LLC                        South 40 - Indirect Craft                                   $0.00
Southern Nuclear Operating Company                   Williams Plant Services, LLC                        South 40 - Incentives                                       $0.00
Southern Nuclear Operating Company                   Williams Plant Services, LLC                        South 40 - Equipment                                        $0.00
Southern Nuclear Operating Company                   Williams Plant Services, LLC                        South 40 Batch Plant Support                                $0.00
Southern Nuclear Operating Company                   Williams Plant Services, LLC                        Hatch Unit 2 Feedwater Heater                               $0.00
Southern Nuclear Operating Company                   Williams Plant Services, LLC                        Hatch Unit 2 Feedwater Heater                               $0.00
Southern Nuclear Operating Company                   Williams Plant Services, LLC                        Class B Smoke Detector Replacement Projects                 $0.00
Southern Nuclear Operating Company                   Williams Plant Services, LLC                        Fire Detection                                              $0.00
Southern Nuclear Operating Company                   Williams Plant Services, LLC                        Background Screenings                                       $0.00
Southern Nuclear Operating Company                   Williams Plant Services, LLC                        Farley, Hatch, Vogtle 1&2 Background Screenings             $0.00
Southern Nuclear Operating Company                   Williams Plant Services, LLC                        Vogtle 3&4 Background Screenings                            $0.00
Southern Nuclear Operating Company, Inc              Construction & Maintenance Professionals, LLC       Leased Employees                                            $0.00
Southern Nuclear Operating Company, Inc              Construction & Maintenance Professionals, LLC       Leased Employees                                            $0.00
Southern Nuclear Operating Company, Inc              Construction & Maintenance Professionals, LLC       Leased Employees                                            $0.00
Southern Nuclear Operating Company, Inc              Construction & Maintenance Professionals, LLC       Leased Employees                                            $0.00
Southern Nuclear Operating Company, Inc              Construction & Maintenance Professionals, LLC       Leased Worker Services - Labor                              $0.00
Southern Nuclear Operating Company, Inc              Construction & Maintenance Professionals, LLC       Leased Worker Services - Expenses                           $0.00
SOUTHERNLINC WIRELESS                                Williams Plant Services, LLC                        Blanket PO for small tools                                  $0.00
SOUTHERNLINC WIRELESS                                Williams Plant Services, LLC                        Blanket PO for Push to Talk                                 $0.00
SOUTHERNLINC WIRELESS                                Williams Plant Services, LLC                        Push to Talk - mobile communications                    $2,445.34
Southway Crane & Rigging                             Williams Specialty Services, LLC                    Crane Services                                              $0.00
STAPLES INC.                                         Williams Plant Services, LLC                        Office Supplies                                             $0.00
SUNBELT RENTALS                                      Williams Plant Services, LLC                        Equipment Rental                                        $1,992.45
SUNBELT RENTALS                                      Williams Plant Services, LLC                        Equipment Rental                                            $0.00
Tech Valley Engineering, PLC                         Williams Specialty Services, LLC                    Engineering Services                                        $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC                        MSA                                                         $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC                        PO# BFN U3 LP FW HTR Project                                $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC                        PO# BFN Control Room Planning Support                       $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC                        PO# BFN Phase 3 Planning Support                            $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC                        PO# BFN Phase 3 Headend Replacement                         $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC                        PO# BFN Control Room Habitability Support                   $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC                        PO# BFN Control Room Lighting Support                       $0.00

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In re Williams Industrial Services Group, Inc. et al. , No. 23-10961-BLS
Non-debtor Counterparty                              Debtor Counterparty                        Description                                                     Cure Costs
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# SQN U2 Traveling Water Screen Phase 1 Planning                           $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# SQN U1 Traveling Water Screen Phase 1 Planning                           $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# SQN U2 FWH Admin Support                                                 $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# SQN Planning Support for Control Room Upgrade                            $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# SQN FTS Repair Work                                                      $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# SQN FTS Planning Support                                                 $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# SQN Phase 2 Planning                                                     $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# SQN U2 Turbine Crane Walkdown                                            $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# SQN PIRT Scaffold Support U2R25 and U1R26                                $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# SQN Fleet Center Procedure Update Support                                $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# SQN FY23 Safety Fundamental Awards                                       $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# SQN Rescue Boat for TWS Tree Cutting                                     $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# SQN Planning and Field Support                                           $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# SQN Planning Support for SCBA                                            $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# SQN Lighting Implementation                                              $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# SQN RCI Laborer Support                                                  $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# SQN Planning Support - High Risk                                         $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# SQN Planning Support - Medium Risk                                       $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# SQN Additional Funding Excitation Support                                $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# SQN Boot Seal Replacement for U1 U1R26 Outage                            $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# SQN QI and Welding Rod Issuance Personnel                                $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# SQN Build Scaffold for Buss Cleaning                                     $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# SQN U2 Wattle Installation Part 2                                        $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# SQN U1 Boot Seal Repl/Install for Small Bore Piping                      $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# SQN U2 Boot Seal Repl/Install for Small Bore Piping                      $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# SQN Level Transmitter Abandonment                                        $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# SQN QA0 Scaffold Support                                                 $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# SQN Planning/Implementation 1st 10 ASCO Valve Replacement                $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# SQN Augmented Fire Watch Support                                         $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# NPG Fleet Center Estimating                                              $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# WBN Engineering Support                                                  $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# WBN Turbine Building Crane Phase 2 Planning Support                      $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# WBN Fleet Planning Support                                               $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# WBN Boron Ice Making System Implementation                               $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# BLN Maintenance Services Contract for FY23                               $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# TVA/SQN/IT INFRASTRUCTURE 1/TP                                           $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# TVA/SQN/IT INFRASTRUCTURE 2/TP                                           $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# TVA/SQN/IT INFRASTRUCTURE 3/TP                                           $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# Chickamauga Waterline Upgrade                                            $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# WBN Training Center Roofing Project Truck Path                           $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC               PO# SQN Smart Meter Installation                                             $0.00

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In re Williams Industrial Services Group, Inc. et al. , No. 23-10961-BLS
Non-debtor Counterparty                              Debtor Counterparty                           Description                                         Cure Costs
Tennessee Valley Authority                           Williams Plant Services, LLC                  PO# SQN Planning IT Cable - Phases 2 3 4                      $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC                  PO# TVA/SQNU2 HDT FWH INTL PLN/CP                             $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC                  PO# SQN I&C Planning Support for U2                           $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC                  PO# SQN Task Manager Support Reactor Head Stand               $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC                  PO# SQN Boot Seal Replacement for U2 U2R25 Outage             $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC                  PO# SQN Compressor Replacement                                $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC                  PO# SQN Material Handling/General Support                     $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC                  PO# SQN Wattle Installation                                   $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC                  PO# SQN Service Task Laborer Support                          $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC                  PO# SQN U1 Wattle Installation Part 2                         $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC                  PO# SQN Paint The ACP                                         $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC                  PO# SQN Painter Support for Beautification                    $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC                  PO# WBN Control Room Planning Support                         $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC                  PO# WBN Phase 2 AVR Planning Support                          $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC                  PO# WBN U2 RCS Cold Leg Shimms U2R25 Planning                 $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC                  PO# WBN Fleet Center Planning Support                         $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC                  PO# Watauga Dam Fiber Project                                 $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC                  PO# Normandy Dam Gravel & Fence Project                       $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC                  PO# Cherokee Dam Excavating and Concrete Project              $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC                  PO# Beech Dam Camera Safety Project                           $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC                  PO# Cherokee Dam Safety Camera Project                        $0.00
Thompson Industrial Service                          Williams Specialty Services, LLC              Excavation Services                                           $0.00
THOMPSON INDUSTRIAL SERVICE                          Williams Plant Services, LLC                  Excavation Services                                           $0.00
Thomson Rueters                                      Williams Industrial Services Group Inc.       Tax software                                               $545.00
Toolwatch                                            Williams Industrial Services Group, LLC       Equipment management                                          $0.00
TRI-STATE DISTRIBUTORS                               Williams Plant Services, LLC                  Blanket PO - Materials                                        $0.00
UKG                                                  Williams Industrial Services Group, LLC       HRIS                                                     $29,704.00
UNITED RENTALS-PAYMENT CENTER                        Williams Specialty Services, LLC              Equipment Rental                                          $6,488.62
UNITED RENTALS-PAYMENT CENTER                        Williams Specialty Services, LLC              Equipment Rental                                              $0.00
UNITED RENTALS-PAYMENT CENTER                        Williams Specialty Services, LLC              Equipment Rental                                              $0.00
UNITED RENTALS-PAYMENT CENTER                        Williams Specialty Services, LLC              Equipment Rental                                              $0.00
UNITED RENTALS-PAYMENT CENTER                        Williams Specialty Services, LLC              Equipment Rental                                              $0.00
UNITED RENTALS-PAYMENT CENTER                        Williams Plant Services, LLC                  Rental Equipment                                              $0.00
UNITED RENTALS-PAYMENT CENTER                        Williams Plant Services, LLC                  Rental Equipment                                              $0.00
UNITED RENTALS-PAYMENT CENTER                        Williams Plant Services, LLC                  Rental Equipment                                              $0.00
UNITED RENTALS-PAYMENT CENTER                        Williams Plant Services, LLC                  Rental Equipment                                              $0.00
UNITED RENTALS-PAYMENT CENTER                        Williams Plant Services, LLC                  Rental Equipment                                              $0.00
UNITED RENTALS-PAYMENT CENTER                        Williams Plant Services, LLC                  Equipment Rental                                              $0.00
UNITED RENTALS-PAYMENT CENTER                        Williams Plant Services, LLC                  Equipment Rental                                              $0.00
UNITED RENTALS-PAYMENT CENTER                        Williams Plant Services, LLC                  Equipment Rental                                              $0.00
UNITED RENTALS-PAYMENT CENTER                        Williams Plant Services, LLC                  Equipment Rental                                              $0.00

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UNITED RENTALS-PAYMENT CENTER                        Williams Plant Services, LLC                  Equipment Rental                                                $0.00
UNITED RENTALS-PAYMENT CENTER                        Williams Plant Services, LLC                  Equipment Rental                                          $234,599.87
UNITED RENTALS-PAYMENT CENTER                        Williams Plant Services, LLC                  Equipment Rental                                                $0.00
UNITED RENTALS-PAYMENT CENTER                        Williams Plant Services, LLC                  Equipment Rental                                                $0.00
UNITED RENTALS-PAYMENT CENTER                        Williams Plant Services, LLC                  Equipment Rental                                                $0.00
UNITED RENTALS-PAYMENT CENTER                        Williams Plant Services, LLC                  Equipment Rental                                                $0.00
UNITED RENTALS-PAYMENT CENTER                        Williams Plant Services, LLC                  Equipment Rental                                                $0.00
UNITED RENTALS-PAYMENT CENTER                        Williams Plant Services, LLC                  Equipment Rental                                                $0.00
UNITED RENTALS-PAYMENT CENTER                        Williams Plant Services, LLC                  Equipment Rental                                                $0.00
Verde Electric Corporation                           Williams Industrial Services Group, LLC       Electrical Services                                             $0.00
Waste Connections of NY, INC                         Williams Industrial Services Group, LLC       Trash Pickup                                                 $546.30
WASTE PRO OF FLORIDA, INC                            Williams Industrial Services Group, LLC       Dumpster                                                     $482.53
Welding Works, Inc.                                  Williams Industrial Services Group, LLC       Materials and Fabrication                                       $0.00
WELLS FARGO VENDOR FINANCIAL SERVICES, LLC Williams Plant Services, LLC                            Copier Lease                                                 $403.85
WestRock CP, LLC                                     Williams Industrial Services Group Inc.       MSA                                                             $0.00
WestRock CP, LLC                                     Williams Industrial Services Group Inc.       MSA Amendment #1                                                $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       MSA Amendment #2                                                $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       MSA Amendment #3                                                $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       Storm Water Inspection 2023                                     $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       SCAFF #2 PM OPERATOR FLR BEAM INSPECTION                        $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       PAINT CLOCK HOUSE JULY VIP TOUR                                 $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       PAINT #3 PM SOUTH STAIRWELL VIP TOUR                            $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       CLEAN DEAERATOR BUILDING ROOF                                   $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       REPAIR ROLL HANDLING ROOF                                       $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       INSUL #5 PPT EAST DRAG CHAIN CONVEYOR                           $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       INSUL #5 RB 75% BLACK LIQUOR PURGE LINE                         $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       INSUL #8 PB 5TH FLOOR ASH LINE                                  $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       SCAFF CHIP SILO BINDICATOR                                      $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       INSUL #8 BOILER STEAM TRAP 1/2" LINE                            $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       PULP MILL WINTERIZATION                                         $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       SCAFF C-SET EVAPORATOR OUTAGE                                   $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       INSUL #XXX-XX-XXXX FUEL OIL PUMP                                $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       INSUL #5 PPT WEST DRAG CHAIN                                    $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       SCAFF PAPER MILL TANK FARM VENT LINES                           $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       ADDT'L SCAFF RENT #2 PM FLOOR BEAM 5/1/22 - 9/30/22             $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       INSUL #10 PB DUST HOPPERS                                       $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       SCAFF #10 PB ASH LN WAREBACK IN BASEMENT                        $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       SCAFF OLD DRY MACH BLDG PERSONNEL CANOPY                        $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       MODIFY #1 PM WEST SIDE STRUCTURAL STEEL                         $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       PERSONNEL PROTECTION #3 PM STEAM JOINTS                         $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       INSUL #10 PB DUST COLLECTOR HOPPER                              $0.00

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WestRock CP, LLC                                     Williams Industrial Services Group, LLC       SCAFF #58 WHITE LQR PUMP CROSS BRACING                    $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       CLEAN PULP MILL AREA NOVEMBER 2022                        $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       HARDWOOD STACKER REBUILD                                  $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       SCAFF #2 PM MEZZ CONDENSATE LINE LEAK                     $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       INST WALKBRDS WWTP COOLING TWR CENTER FAN                 $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       SCAFF N WALL DEAERATOR BLDG E OF CATWALK                  $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       INSUL PAPER MILL PIPE MEASUREMENTS                        $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       INSUL #5 RB SOUTH SIDE WASHUP LINE                        $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       INSUL DEAERATOR BLDG 400# STEAM PRV VALVE                 $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       CLEAN TURBINE COOLING TWR N & E SIDES                     $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       DEMO NORTH WALL DEAERATOR BLDG                            $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       INSUL DOMESTIC WTR LN NEAR BOIL OUT TANK                  $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       INSUL MILL LAB DOMESTIC WATER LINE                        $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       SCAFF PULP MILL #600 FLOW METER                           $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       INSUL #4 RB BLACK LIQUOR LINE LEAK                        $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       SCAFF EFFLUENT LINE REPAIRS                               $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       SCAFF PAPER MILL E&I 2023 ANNUAL OUTAGE                   $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       SCAFF #06 CHIP CONVEYOR OHM METER                         $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       INSTALL TEMP CATWALK TC WATER FLOW METER                  $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       SCAFF #3 CHIP SILO BINDICATOR - 12 MONTHS                 $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       SCAFF #2 PM RELIEF VALVE IN COURTYARD                     $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       SCAFF #2 PM DRIVE SIDE FLOOR BEAMS 2023 AO                $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       INSUL E-LINE 6TH EFFECT STRAIGHT SHELL                    $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       SCAFF WEST SIDE #1 SSR UNIT RIGGING                       $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       SCAFF #5 RB STARTUP VENT LINE A-14 VALVE                  $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       SCAFF NEW SHAKER BLDG LIGHT REPAIR                        $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       SCAFF BATCH DIGESTER MEZZ STEAM LEAK                      $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       SCAFF PULP MILL TANK FARM BLACK LQR LEAK                  $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       SCAFF #4 RB BLACK LQR LN PIPE HANGERS                     $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       INSUL #4 RB 150# STEAM HEADER CHECK VALVES                $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       SCAFF NW CORNER EVAP BLDG B-SET BOILOUT LN                $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       CLEAN OFF TOP OF MUD WASHER TANK                          $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       SCAFF #5 RB #110 & #111 PUMP SAMPLE LINES                 $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       SCAFF SECONDARY FIBER LIGHT REPAIRS                       $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       SCAFF TALL OIL PLANT WET OIL TANK HEATER                  $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       INSUL #1 PM DRYER CAN STEAM LINES                         $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       SCAFF #1 PM #14 MOTOR COOLING DUCTWORK                    $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       INSUL #1 PM DRYER CAN STEAM HEADER                        $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       INSUL #5 PPT EYEWASH SUPPLY LINE                          $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       SCAFF SEC FIBER SEAL WATER LINE LEAK                      $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC       SCAFF TALL OIL PLANT 4" WATER LINE                        $0.00

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WestRock CP, LLC                                     Williams Industrial Services Group, LLC        SCAFF #2 PM STRETCH CHAINS COLUMN LN M-16                          $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        INSUL BLEACH PLANT 50% CAUSTIC TRANSFER LN                         $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        SCAFF WEST SIDE TILE CHEST WEST OF MAIN LAB                        $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        SCAFF #2 PM BASEMENT DRIVE SD #565 VALVE                           $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        SCAFF #2 PM PRESS PIT CONSISTENCY VALVE                            $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        CLEAN UP FELT BOXES #1 & #2 PM JUNE OUTAGES                        $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        SCAFF #3 PM PRESS PIT RECERT LINE                                  $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        SCAFF #2 LIME KILN PRECOAT CAMERA                                  $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        INSUL #3 PM MOTOR COOLING DUCTWORK                                 $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        INSUL #2 PM DESUPERHEATER VALVE                                    $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        SCAFF BLACK LQR FILTER BLDG PRIMARY BASKET                         $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        INSUL LVHC CONDENSATE POT INLET VALVE                              $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        LN 1- LABR SCAF WWTP #1 PRIMARY CLARFR SUMP BYPASS VLV             $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        REPL CHARCOAL SEC FIBER RACK RM WV UNIT                            $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        SCAFF SEC FIBER FINAL PHASE LIGHT REPAIRS                          $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        SCAFF SOUTH CHIP PILE RECLAIM RACK CABLE                           $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        LN 2- INSUL E-LINE PIPE FLANGE EAST END MEZZ                       $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        SCAFF SHAKER SCREEN CLEANOUT DOORS                                 $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        SCAFF #4 RB BLACK LQR LINE SPOOL SECTIONS                          $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        INSUL #5 RB 150# STEAM LINE REPAIR                                 $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        SCAFF #1 PM ROLL HANDLER REPAIR                                    $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        SCAFF E-LINE MEZZ REX A #130 PROBE                                 $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        SCAFF #1 PM SPRINKLER SYSTEM AFTER FIRE                            $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        SCAFF BLEACH PLANT SW STAIRWELL SUPPORT                            $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        SCAFF KAMYR DIGESTER SUBST CONDENSATE LN                           $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        SCAFF #2 LIME KILN DIVERTER GATE CHUTE                             $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        SCAFF #25 CONVEYOR CHUTE REPAIR                                    $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        SCAFF DOMESTIC WTR LN TOP OF DORR TANKS                            $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        SCAFF #4 RB BLACK LQR LN LK MEZZ N WALL                            $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        SCAFF #10 PB #26 & #27 BARK CONVEYOR CHUTE                         $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        SCAFF #3 PM JULY 18TH OUTAGE                                       $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        SCAFF #1 LIME KILN RECLAIM WATER PUMP                              $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        SCAFF MAIN STARCH COOK TANK PLATFORM                               $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        INSUL #3 PM AQUATROL HEATER VALVE                                  $0.00
WestRock CP, LLC                                     Williams Industrial Services Group, LLC        SCAFF #3 PM UNORUN CONDUIT LIGHT REPAIR                            $0.00
WRS Environmental Services                           Williams Industrial Services Group, LLC        Asbestos Services                                                  $0.00
Zoho                                                 Williams Industrial Services Group, LLC        IT management Tools                                            $9,280.00
Zoom                                                 Williams Industrial Services Group, LLC        Phone System                                                       $0.00




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